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                       UNITED STATES DISTRICT COURT
11
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
      ANHUI LIGHT INDUSTRIES
13
      INTERNATIONAL CO., LTD.
14                                               Case No. 2:23-cv-05942
15                       Petitioner,
                                                 NOTICE OF INTERESTED
16
            v.                                   PARTIES AND RULE 7.1
17                                               STATEMENT
      DREAM EXPRESS INC.,
18
19                       Respondent.
20
21
22         Pursuant to Fed. R. Civ. P. § 7.1 and Local Rule 7.1-1, and to enable District
23   and Magistrate Judges of the Court to evaluate possible disqualification or recusal,
24   the undersigned counsel for Petitioner Anhui Light Industries International Co., Ltd.
25   (a nongovernmental entity) certifies that its parent corporation is Anhui International
26   Trade Group (Holding) Co. Ltd., a corporation registered under the laws of the
27   People’s Republic of China. No other private or public entity owns 10% or more of
28   Anhui Light Industries International Co., Ltd.
                                                1
                      NOTICE OF INTERESTED PARTIES AND RULE 7.1 STATEMENT
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 1   Dated:      July 21, 2023
                                         Respectfully submitted,
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                                         MAZZOLA LINDSTROM LLP
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 4                                       By: _________________________________
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                    NOTICE OF INTERESTED PARTIES AND RULE 7.1 STATEMENT
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